                           UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF MICHIGAN

In Re:                                                          Case No. 14-30028-DOF
                                                                Hon. OPPERMAN
BRETT SVATORA
__________________________________________/

         OBJECTION TO PROOF OF CLAIM OF ENGLISH GARDENS CONDOMINIUM
                            ASSOCIATION (CLAIM #6)

     Debtor, by and through his attorney, hereby objects to Proof of Claim #6 of ENGLISH
GARDENS CONDOMINIUM ASSOCIATION for the following reasons:

         1)   Proof of Claim includes a ‘pre-petition arrearage’ of $8,145.70, however the Proof of Claim
              fails to include any documentation or itemization to support this figure.

         WHEREFORE, Debtor prays this Honorable Court disallow the Proof(s) of Claim presently
filed as claim #6 and grant whatever other relief as may be just and equitable under the circumstances.


Dated: May 14, 2014                                     /S/ Thomas M. Hensel, Jr.
                                                        THOMAS M. HENSEL, JR. (P60469)
                                                        Attorney for Debtor(s)
                                                        36250 Dequindre Rd., Ste. 410
                                                        Sterling Heights, MI 48310
                                                        (586) 939-4800
                                                        tom@hensellawoffice.com




  14-30028-dof        Doc 31      Filed 05/14/14     Entered 05/14/14 12:44:34          Page 1 of 5
                          UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN

In Re:                                                         Case No. 14-30028-DOF
                                                               Hon. OPPERMAN
BRETT SVATORA
__________________________________________/

    ORDER REGARDING OBJECTION TO PROOF OF CLAIM OF ENGLISH GARDENS
                  CONDOMINIUM ASSOCIATION (CLAIM #6)

        This matter having come on for hearing before the Court by way of the objection of the Debtor to
the allowance of the claims of the above referenced creditor, service having been made with a notice of
hearing allowing a thirty (30) day notice pursuant to Bankruptcy Rule 3007, a hearing having been held,
the Court having heard the matter in open Court and for the reason stated on the record;

         NOW THEREFORE, IT IS HEREBY ORDERED THAT:

        The objection to the Proof of Claim filed by the above-referenced Creditor is hereby GRANTED.
To the extent that the Chapter 13 Standing Trustee has previously made disbursements to such Creditor,
the Trustee shall not be obligated to recoup the same.

     IT IS FURTHER ORDERED that the Proof(s) of Claim of the ENGLISH GARDENS
CONDOMINIUM ASSOCIATION (CLAIM #6), is disallowed.

                                                 EXHIBIT A




  14-30028-dof       Doc 31      Filed 05/14/14     Entered 05/14/14 12:44:34          Page 2 of 5
                            UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF MICHIGAN

In Re:                                                              Case No. 14-30028-DOF
                                                                    Hon. OPPERMAN
BRETT SVATORA
__________________________________________/

NOTICE OF OBJECTION TO PROOF OF CLAIM OF ENGLISH GARDENS CONDOMINIUM
                         ASSOCIATION (CLAIM #6)

         Debtor has an objection to your claim in this bankruptcy case.

        Your claim may be reduced, modified or denied. You should read these papers carefully
and discuss them with your attorney, if you have one in this bankruptcy case. (if you do not have
an attorney, you may wish to consult one.)

        If you do not want the court to deny or change your claim, then on or before 7 days prior to said
hearing date, you or your attorney must:

    1.       File with the court a written response to the objection, explaining your position at:1

                                             United State Bankruptcy Court
                                                   226 W. Second St.
                                                    Flint, MI 48502

        If you mail your response to the court for filing, you must mail it early enough so the court will
receive it on or before 7 days prior to said hearing date
        You must also mail a copy to:

    Hensel Law Office, PLLC                                             Carl Bekofske, Ch.13 Trustee
    36250 Dequindre Rd., Ste. 410                                       400 N. Saginaw St., Ste. 331
    Sterling Heights, MI 48310                                          Flint, MI 48502
    (586) 939-4800

     2.      Attend the hearing on the objection, scheduled to be held on JULY 22, 2014 at 10:00 a.m.
at 226 W. Second St., Flint, MI 40502, unless your attendance is excused by mutual agreement between
yourself and the objector's attorney. (Unless the matter is disposed of summarily as a matter of law, the
hearing shall be a pre-trial conference only; neither testimony nor other evidence will be received. A pre-
trial scheduling order may be issued as a result of the pre-trial conference.)

        If you or your attorney do not take these steps, the Court may deem that you do not oppose
the objection to your claim, in which event the hearing will be canceled, and the objection
sustained.

Dated: May 14, 2014                                        /S/ Thomas M. Hensel, Jr.
                                                           THOMAS M. HENSEL, JR. (P60469)
                                                           Attorney for Debtor(s)

1        Response or answer must comply with F.R.Civ. P. 8(b), (c) and (e)



    14-30028-dof       Doc 31      Filed 05/14/14       Entered 05/14/14 12:44:34           Page 3 of 5
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14-30028-dof   Doc 31   Filed 05/14/14   Entered 05/14/14 12:44:34         Page 4 of 5
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                                                                 Hon. OPPERMAN
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__________________________________________/

                                    CERTIFICATE OF SERVICE

        I hereby certify that on May 14, 2014, I electronically filed the foregoing paper(s) with the Clerk
of the Court using the ECF system which will send notification of such filing to the following:

- CARL BEKOFSKE, Trustee
- United States Trustee

and I hereby certify that I have mailed by United States Postal Service the paper(s) to the following non-
ECF participants:

-MAKOWER ABBATE PLLC, 30140 ORCHARD LAKE ROAD, FARMINGTON HILLS, MI 48334


Dated: May 14, 2014                                      /S/ Thomas M. Hensel, Jr.
                                                         THOMAS M. HENSEL, JR. (P60469)
                                                         Attorney for Debtor(s)
                                                         36250 Dequindre Rd., Ste. 410
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  14-30028-dof        Doc 31      Filed 05/14/14      Entered 05/14/14 12:44:34          Page 5 of 5
